

Matter of Daniel C. (2015 NY Slip Op 00649)





Matter of Daniel C.


2015 NY Slip Op 00649


Decided on January 27, 2015


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 27, 2015

Mazzarelli, J.P., Renwick, DeGrasse, Richter, Clark, JJ.


14065

[*1] In re Daniel C., A Person Alleged to be a Juvenile Delinquent, Appellant. Presentment Agency


Tamara A. Steckler, The Legal Aid Society, New York (John A. Newbery of counsel), for appellant.
Zachary W. Carter, Corporation Counsel, New York (Michael J. Pastor of counsel), for presentment agency.



Order of disposition, Family Court, Bronx County (Sidney Gribetz, J.), entered on or about December 12, 2013, which adjudicated appellant a juvenile delinquent upon a fact-finding determination that he committed acts that, if committed by an adult, would constitute the crimes of criminal sale of a controlled substance in the third degree and criminal possession of a controlled substance in the third degree, and placed him on probation for a period of 12 months, unanimously affirmed, without costs.
The court properly exercised its discretion in adjudicating appellant a juvenile delinquent and placing him on probation rather than ordering an adjournment in contemplation of dismissal. Probation was the least restrictive dispositional alternative consistent with appellant's needs and the community's need for protection (see Matter of Katherine W ., 62 NY2d 947 [1984]).
Appellant was in need of the supervision that would be provided by way of a 12-month term of probation, given the seriousness of the underlying conduct.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: JANUARY 26, 2015
CLERK








